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                               U NITED STATE S D ISTR ICT CO U R T
                               SO U TH ER N DISTR ICT O F FLO R ID A

                                    C A SE N O .19-CR -20624-AH S


        U N ITED STA TES OF AM ER ICA



        JUANA QUINTERO,
                             D efendant.
                                                     /


                            A G REED FA CTUA L BA SIS FO R G UILTY PLEA

               DefendantJuanaQuintero (thetr efendant''orGGouintero'')hereby acknowledges
        and agreesthat,ifthiscasewereto goto trial,theUnited Stateswould establish and prove
    '


        thefollowing factsbeyond areasonabledoubt:

               From in oraround April2013 through in oraround January 2015,in M iam i-Dade
                                              ï                      .                    -
                                              h
        County,in the Southern DistrictofFlorida,and eljewhere,Quintero didknowingly and
        willfully combine,conspire,confederate,and agree with co-conspirators,in violation of

        Title 18,United States Code,Section 1956(h),to commitmoney latmdering,thatis,to
        conducta financialtransaction affecting interstate and foreign com m erce,which fm ancial

        transactioninvolved theproceedsofspecified llnlawf'ulactivity,knowingthattheproperty

        ùw olved in the financialtransaction represented the proceeds of som e form of tm law ful'
                                                                                          . *

        activity,and know ing thatthe transaction w asdesigned,in w hole orin part,to concealand

        disguise the nature, location, source, ow nership, and control of the proceeds of the

        specified tm law ful activity, in violation of Title     U nited States Code, Section
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     1956(a)(1)(B)(i). Thespecifiedllnlawf'
                                          ulactivitywasconspiracy to commithealth care
    fraud,in violation of Title 18,United States Code,Section 1349,
                                                                  .health care fraud,in

    violation ofTijle 18,United StatesCode,Section 1347,
                                                       .wirefraud,in violation ofTitle 18,
    U nited StatesCode,Section 1343;and conspiracy to pay and receivehealth carelcickbacks,

     in violation ofTitle 18,Urlited StatesCode,Section 371,

            Golden HomeHealth Care,Inc.(&tGo1den''),HomesteadHomeHealth CareLLC
     (GGl-
         lomestead''),andV A HomeHea1thAgency,Inc'
                                                 .(çtM A'')wereFloridaentitiesthatdid
    business ashom e health agenciesin M inm i-Dade Cotmty,Florida. Golden,Hom estead,

    andMA were engaged in health carefraudby,amongptherthings,paying ldckbacksto
    patient recruiters and subm itting false and fraudulent claim s to M edicare. A l1 Services

    24/7 lnc.and Evsryday ProfessionalCare Service,lnc.were shellcompaniesestablished

    byQuintero'ssol'
                   landco-conspirator,YudelGonzàlez.NeitherAl1Services24/7Inc.nor
    Everyday Professional Care Service, Inc.provided any legitim ate services to G olden,

    H om estead,orM A .

            Between April2013 andJanuary2015,Quintero and othersreceived and cashed
     checks issued by Golden,Hom estead,and M A with an aggregate value of$1,347,388.
    Those checks were drawn on the bnnk accotmts of Golden,Hom estead,and M A,and

    represéhted the proceeds ofhealth care fraud and wire fraud. Quintero and her co-
     conspiratorscashed the checks issued by G olden,H om estead,and M A,ahd collected a fee

    fordoing so.Quinterothenrettlmedtheremainingfraudproceedsin cash to individuals
     atGolden,Homestead,andM A fortheirownuseandtofurtherthefraud.Quinteroknew
     and understood thatthe checksshe and herco-conspiratorsreceived and cashed represented
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    the proceeds of som e form of llnlaw ft
                                          zl activity carried out by G olden,H om estead,and

    M A. SomeofthechecksQuintero directed otherstocashhadmemolineswithnotations
     such asçGprofessionalSelwices,''despitethefactthattheindividualscashing those checks

     did notprovide any legitimate setwicesto the hom e health agenciesin exchange forthe

     nmotmtofsaid checks.

           Intotal,asaresultofQuintero'sparticipationinthisscheme,thevalueoflatmdered
    fllndswasapproxim ately $1,347,388.
           Theprecedingstatem entisasum mary,m adeforthepurposeofprovidingtheCourt

    with afactualbasisform y guilty pleato thechargesagainstme.Itdoesnotincludea11of

    thefactsknown to meconcem ingthecriminalactivityinwhich1and otherswereengaged.

    1m ake this statem entknow ingly and voluntarily because Inm in factguilty ofthe crim es

     charged.


    oate:oR/op/x                        By:                                           '
                                              JUAN A      TER O
                                              DEFEN D M T


    oate:oa/fa zao                      By:
                                               R EN N ELSON
                                              COUN SEL FOR TH E D EFEN D AN T

     Date: ') j                         By:
                                              A LEXA N DER TH OR POG OZELSK I
                                              TIUAL ATTOFNEY
                                              FRAUD SECTION ,CRIMINAL DIVISION
                                              U .S.DEPART= NT OF JUSTICE
